Case 0:21-cr-60020-WPD Document 548 Entered on FLSD Docket 03/08/2022 Page 1 of 15



                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 21-CR-60020- DIMITROULEAS

    UNITED STATES OF AMERICA

    v.

    JONATHAN MARKOVICH,

                     Defendant.
                                          /

                  OBJECTIONS TO PRESENTENCE INVESTIGATION REPORT

             Jonathan Dov Markovich (“J. Markovich”), by and through the undersigned counsel,

   respectfully files his objections to the Presentence Investigation Report (“PSI”) (D.E. 468) and

   states the following in support thereof. These objections were presented to the government on

   February 28, 2022, but there has been no resolution and they remain contested. Prior to the March

   18, 2022 sentencing hearing, J. Markovich will be filing a sentencing memorandum in support of

   a downward departure from the sentencing guideline range.

                                       GENERAL OBJECTIONS

            Loss amount calculation

             The driving force for J. Markovich’s sentencing guideline range of life is the loss amount

   calculation. Paragraph 54 of the PSI adds 24 levels for a loss amount between $65,000,000 and

   $150,000,000. However, that loss number is unreasonable, unreliable, and speculative. The

   Eleventh Circuit has stated that the Court “must base [the loss] estimate on reliable and specific

   evidence.” United States v. Ford, 784 F.3d 1386, 1396 (11th Cir. 2015). The onus is on the

   government to provide such proof by a preponderance of the evidence, but as of yet, though we

   are less than two weeks away from J. Markovich’s sentencing hearing, they have not. Rather, the

   government posits that it “will further explain its basis for a reasonable estimate of loss in a


   128731839.1
Case 0:21-cr-60020-WPD Document 548 Entered on FLSD Docket 03/08/2022 Page 2 of 15



   sentencing memorandum or at sentencing.” (D.E. 540, p. 5, fn. 3.) Given that the trial in this

   matter lasted nearly twenty full days and it has been over four (4) months since J. Markovich’s

   conviction, that position is unacceptable. In order to adequately respond, J. Markovich should

   have the benefit of knowing how the government intends to prove the loss amount it seeks that the

   Court rely on for sentencing, well prior to the sentencing hearing date.

           Moreover, the loss amount in the PSI seems to rely on all patient billings at Compass Detox

   (“Compass”) and We Are Recovery (“WAR”) (collectively, the “Facilities”), despite the fact that

   the government has consistently stated that the charges in this case and offense conduct only

   involves a group of “core” patients at the Facilities. Indeed, during its opening statement, the

   government foreshadowed what subsequent evidence would establish – that only a handful of

   patients was the basis for its case:

            “Ladies and gentlemen, you’re going to hear that hundreds of patients went
            through Compass Detox, and the Government is not saying that all of these
            patients were bribed. The Government is not saying that all of these patients
            were being given drugs to get admitted … [T]he Government is not saying that
            all patients at Compass Detox were alike. Not all of them were repeat patients.
            Some of these patients … might have been able to work the program and actually
            get help. What we’re saying is these repeat patients that [the Government has]
            been talking about, these Florida shufflers, were a core group. You’re going to
            hear their names a lot over the course of this trial.”

   (Trial Transcript, Opening Statements, 9/14/21, 15:20 – 16:12.)

           These so-called “Florida shufflers” were consistently mentioned throughout the trial, as the

   charges in the indictment stem from their attendance at the Facilities. Even the government’s own

   expert, Dr. Kelly Clark, focused only on twelve (12) patient files – less than 1% of the Facilities’

   patient population – in the course of her work. (Trial Testimony of Dr. Clark, 10/4/2021, 199:14-

   20.) As well, codefendants and cooperators Christopher Garnto and Mario Kustura also testified

   that many patients who attended Compass for treatment were not paid kickbacks or given other

   incentives to do so. (See Trial Testimony of Mr. Kustura, 9/23/21, 141:17-19; Trial Testimony of

                                                    2
   128731839.1
Case 0:21-cr-60020-WPD Document 548 Entered on FLSD Docket 03/08/2022 Page 3 of 15



   Mr. Garnto, 9/23/21, 20:21-21:9, 24:21-25, 44:9-16, and 63:9-21.) Given that the government has

   consistently advocated that only a handful of patients were impacted by J. Markovich’s actions –

   and that the evidence only supports that theory – it is unclear what reliable and specific evidence

   the government intends to provide showing that all of the patients’ billing data should serve as a

   basis to calculate the total loss amount.

             In addition, the government has relied upon the “core” patients to establish the total loss

   amount calculations for other defendants in this case – and should do the same here. Specifically,

   the leader and orchestrator of this entire conspiracy – Richard Waserstein – and the lead patient

   recruiter and “body broker” – Christopher Garnto – both pled guilty to conspiracy charges. The

   substantive charge or unlawful activity underlying the charges they pled to – healthcare fraud –

   should, in theory, drive their sentencing guideline ranges. However, the government is requesting

   that both of their loss amount calculations be capped between $3,500,000 and $9,000,000 –

   numbers far less than J. Markovich’s loss calculation. See D.E.s 246, pp. 7-8, ¶¶ 13 and 15; 506,

   p. 7, ¶ 13. Notably, the total amount reimbursed to the Facilities for the “core” twelve patients is

   less than $9,000,000. This is not speculative intended loss or benefits – this is an actual

   determinative reimbursed amount. Moreover, some of this reimbursed amount is for services

   actually rendered (that is, therapy conducted; medications properly administered; and so forth).

   Using this loss amount calculation is fair, just, and reliable and should be the maximum relied

   upon to calculate J. Markovich’s sentencing guideline range. As such, J. Markovich objects to all

   references in the PSI that list a total loss number exceeding that amount, such as paragraphs 39

   and 47.

             It is also important to note that R. Waserstein profited more than J. Markovich from the

   Facilities. As the government concedes, J. Markovich profited approximately $5,000,000 from

   his operation and ownership of the Facilities, whereas R. Waserstein profited several million more.

                                                      3
   128731839.1
Case 0:21-cr-60020-WPD Document 548 Entered on FLSD Docket 03/08/2022 Page 4 of 15



   Such profit/gains calculations by the government do not even account for expenses that J.

   Markovich personally incurred to operate the Facilities.

         Lack of specificity as to “patients”

          The government has always proffered that this case is not just about loss and money.

   Rather, they state that this is about people – the patients who attended treatment at the Facilities.

   Yet, the government does not do these patients the service of specifying who incurred harm from

   the alleged fraud or state how they were harmed. Instead, anyone who attended treatment at

   Compass or WAR is simply lumped together as “patients” harmed by the offense conduct. This

   is contrary to the evidence presented. For example, patient recruiters did not begin paying patients

   or providing other incentives to them to attend the Facilities until sometime in mid-or-late 2018 –

   not when Compass opened its doors in April 2017. (Testimony of Mr. Garnto, 9/23/21, 253:20-

   23.) Even then, the evidence at trial established that J. Markovich spent millions to open and

   manage a call center and marketing department, which handled patient admissions for treatment.

   As well, the “comfort drinks,” which the government claims harmed patients, were not prescribed

   at Compass until Dr. Drew Liebermann began working at the facility, in 2018.

          For these reasons, J. Markovich objects to blanket references that the Facilities harmed all

   patients. The government should specify which patients is it referring to and what harm they

   intend to show.

         Chiropractic services

          The government did not present any evidence at trial regarding chiropractic services or that

   J. Markovich caused illegal billing as to any such services provided by Dr. Jeffrey Draesel. Rather,

   their own expert, Dr. Clark, stated that Dr. Draesel billed directly for those services and that she

   did not review the charts regarding his services provided. Any references to Dr. Draesel, his

   business, or illegal billing by his company should be removed from the PSI, such as page 8,

                                                    4
   128731839.1
Case 0:21-cr-60020-WPD Document 548 Entered on FLSD Docket 03/08/2022 Page 5 of 15



   paragraph 12 and page 9, paragraph 22.

         Four-point “victim” enhancement

          The government has filed objections to the PSI, advocating for a four-point victim

   enhancement (versus two points) and a recalculation of the guidelines to rely on Count 1 versus

   Count 24. The government acknowledges that neither of their objections change the current

   sentencing guideline range. J. Markovich disagrees with the government’s objections. As to the

   latter objection, the PSI is correct as is and has properly grouped the violations in a manner to

   properly reflect the offense conduct.

          As to the four-point victim enhancement, again, the government broadly states, in uncertain

   and general terms, that “dozens of patients” were paid to attend treatment and “hundreds of

   patients” were overmedicated. There is simply no evidence showing this. Ambiguous statements

   by Messrs. Garnto and Kustura, two addicts who have questionable memories, should not be the

   source of a two-point enhancement, if that is indeed what the government is relying on. Moreover,

   Dr. Clark, the government’s own expert, did not opine that “hundreds” of patients were

   overmedicated. She looked at twelve patient files – twelve. In addition, despite consistently

   arguing that this case is only about a handful of “Florida shufflers,” the government now seems to

   claim that all of the Facilities’ patients – over a thousand – should be deemed victims. Not only

   is there no evidence supporting this proposition, but many former patients do not wish to be

   deemed victims and can explain why it is they should not be viewed as victims for purposes of the

   PSI. The defense will present evidence of this at the sentencing hearing.

                                      SPECIFIC OBJECTIONS

          For ease of reference, unless otherwise noted above, J. Markovich objects to the specific

   pages and paragraphs noted below:

          1.      Page 7, paragraphs 9 and 10: J. Markovich objects to past tense references to

                                                   5
   128731839.1
Case 0:21-cr-60020-WPD Document 548 Entered on FLSD Docket 03/08/2022 Page 6 of 15



   Compass and WAR (e.g., “was” or “did”). The Facilities are still operational, and under the

   management of Tamar Markovich. Past tense references should be changed to present tense and

   the PSI should clearly state the following: “Compass and WAR are still open and operational.”

   Though the government claims that the current status of the Facilities have no bearing on J.

   Markovich’s offense conduct and sentencing, the PSI implies that the Facilities have been shut

   down or closed. They have not. They are still treating patients. Further, the PSI should state when

   Compass and WAR were each established and operational, which was part of the evidence

   admitted at trial. Compass opened in April 2017 and WAR opened in February 2019. Last, J.

   Markovich objects to the use of the word “purportedly,” as the Facilities were indeed opened for

   the reasons stated and remain operational for the same.

          2.      Page 8, paragraph 13: The specific dates that Jonathan and Daniel Markovich were

   CEOs of Compass need to be added. Jonathan was the CEO from April 2017 to October 2019.

   Daniel was CEO from that time onward. Joseph Santeiro, Jr. was the CEO of WAR from its

   inception until late 2021.

          3.      Page 8, paragraph 14: The evidence at trial did not establish that payments to

   patients started in April 2017. Christopher Garnto testified that patients started getting paid to

   come to Compass in 2018 and the PSI should be corrected to accurately reflect this date.

          4.      Page 8, paragraph 15: J. Markovich objects to this paragraph as written. First, he

   objects to the use of the word “purportedly” and the first reference to “vulnerable”. In addition,

   “most patients” at the Facilities were not between the ages of 18 and 26. Evidence at trial showed

   that the majority of the patients at Compass were born between 1971 and 1991, and thus, over the

   age of 26 at the time of admission. (See Trial Testimony of Dr. Clark, 10/4/21, p. 212.) Moreover,

   J. Markovich objects to the notion that patients were “vulnerable” when the government conceded,

   as did Dr. Clark and other witnesses, that addicts are manipulative, deceitful, and capable of taking

                                                    6
   128731839.1
Case 0:21-cr-60020-WPD Document 548 Entered on FLSD Docket 03/08/2022 Page 7 of 15



   advantage of others. (See, e.g., Trial Testimony of P.S., 9-17-2021 at 47, 115.) The patients here

   are not like other “vulnerable” victims in cases – they were complicit. They committed insurance

   fraud by lying to their insurance providers and using their insurance cards like hotel keys – for a

   stay at the next best place. Most of these patients wanted to go to Compass and WAR, a fact that

   the government cannot dispute and that the defense will establish further at the sentencing hearing.

   The evidence at trial established that patients played a key role in being “shuffled” to/from various

   substance abuse treatment centers and the misuse of their insurance benefits. Moreover, the

   government has failed to allege anything other than the patients’ addiction to drugs as a reason to

   identify them as so-called “vulnerable” victims. The Eleventh Circuit has made clear that drug

   addicts are not necessarily vulnerable victims for purposes of section 3A1.1, and we decline to

   categorically classify them as such. See United States v. Amedeo, 370 F.3d 1305, 1317 no. 10

   (11th Cir. 2004).   In addition, for factual accuracy and completeness, the following should be

   added to this paragraph: “Evidence at trial showed that Compass had nearly 1,000 patients

   admitted during the time period at issue in this case. 736 patients had only 1 or 2 admissions to

   the facility. The majority of patients were not repeat visitors. Some of the patients – or their

   parents – specifically sought out Compass for addiction treatment.” (See DEX 583.)

          5.      Page 8, paragraph 16: J. Markovich objects to this paragraph as written. For

   factual accuracy, the following edits should be made. This language should be added to the

   beginning of the paragraph: “According to the government …” At the middle of the paragraph,

   the term “some of Compass Detox’s patients” should be added – as the evidence at trial did not

   show, nor did the government argue, that all patients were paid kickbacks (as explained above).

   Moreover, the government has never argued that the treatment of all patients were “substandard

   … and/or were medically unnecessary.” Rather, the government has consistently relied only upon

   a core group of patients as their basis for this argument. As such, the paragraph should be modified

                                                    7
   128731839.1
Case 0:21-cr-60020-WPD Document 548 Entered on FLSD Docket 03/08/2022 Page 8 of 15



   to reflect the specific patients that the government is relying on for this statement. For factual

   accuracy and completeness, the following statement should also be added to this paragraph:

   “Compass and WAR provided services for over one thousand patients. The evidence at trial

   showed that not all patients at these facilities were paid kickbacks, given drugs, or poorly treated.”

          6.      Page 9, paragraph 17: J. Markovich objects to this paragraph as written. The trial

   evidence did not establish that majority of patients took the “comfort drink” or had such adverse

   effects. Rather, only some patients testified to adverse effects and the PSI should reflect that.

   Moreover, the evidence at trial established that fights occurred at Compass, which is contrary to

   the use of comfort drinks to keep the patient population “docile and compliant, so that they would

   remain at Compass Detox.” As well, not all patients – such as L.L. and P.D. – took the comfort

   drinks and were repeat patients that the Facilities. That is not what kept them at the facility. This

   blanket statement should not be included in the PSI as it is not accurate. In addition, J. Markovich

   requests that the following sentence be added for factual accuracy and completeness: “Jonathan

   and Daniel Markovich are not medically trained doctors.” After “For example,” the caveat

   “according to the Government…” should be stated, if this sentence is kept by the Court. Further,

   for factual accuracy and completeness, the following should be added: “The ‘comfort drink’ was

   created and implemented by Dr. Drew Liebermann, a board-certified anesthesiologist after he

   joined Compass in 2018. The ‘comfort drink,’ now termed the ‘wellness drink,’ is still in use at

   Compass, and Florida state regulatory agencies are aware of its use. At trial, a nurse from Compass

   testified that the comfort drink was used to prevent ‘med seeking’ by patients, that is to prevent

   addicts from seeking additional narcotics, and that in this regard, the comfort drink could have a

   placebo effect.”

          7.      Page 9, paragraph 18: J. Markovich objects to this paragraph as written. There was

   no evidence presented at trial that established that J. Markovich knew the various uses of these

                                                     8
   128731839.1
Case 0:21-cr-60020-WPD Document 548 Entered on FLSD Docket 03/08/2022 Page 9 of 15



   drugs and this paragraph implies that he did. Given that it does not mention J. Markovich, it should

   be stricken.

          8.      Page 9, paragraph 19: J. Markovich objects to this paragraph as written. Not all

   patients were provided “little to no medical monitoring” and manifested such alleged symptoms.

   This is too broad and an overreaching statement. Again, the government needs to name specific

   patients and be pointed in the poor care and treatment it alleges. Moreover, this paragraph is

   completely contrary to the evidence presented at trial, through the testimony of Joseph DeSimone

   and Paul Buteau, who testified that patients are monitored and attended to by the medical and

   clinical staff at Compass.

          9.      Page 9, paragraph 20: J. Markovich objects to this paragraph. The testimony at

   trial directly refuted this – Jesse Munach, a Government witness, testified that Jonathan and Daniel

   Markovich did not tell him or otherwise authorize him to fabricate therapy notes, or even know

   that he was doing so. Rather, he stated he did this, largely, on his own:

                      Q. You never told Jonathan Markovich you were faking notes, did you?

                      A. No.

                      Q. You never told Jonathan Markovich, Samantha Moreno
                      instructed me to lie about all these things, did you?

                      A. I did not.

   (Trial Testimony of Mr. Munach, 10/1/2021, 84:5-10, 83:23 – 84:13, 123:21 – 125:9.)

          Dr. Clark even testified that JM most likely never even reviewed patients’ files through

   ZenCharts. (Trial Testimony of Dr. Clark, 10/4/2021, 236:9-13.) Moreover, Christopher Garnto

   stated that Jonathan Markovich gave his login to others to use and sign-in, and there was no

   evidence that Jonathan Markovich himself ever signed into ZenCharts to fabricate therapy notes.

          10.     Page 9, paragraph 21: Again, J. Markovich objects to the blanket use of “patients”

   when the trial evidence was specific to certain patients and counts. The PSI should be specific as
                                                    9
   128731839.1
Case 0:21-cr-60020-WPD Document 548 Entered on FLSD Docket 03/08/2022 Page 10 of 15



   to which patients the government is referring to as the basis for its arguments. Also, J. Markovich

   objects to the use of the word “shell” – there was no evidence at trial that these were “shell”

   corporations. They were not offshore accounts, hidden accounts, accounts in different persons’

   names, or otherwise nefarious bank or financial accounts. Last, there needs to be clarity that the

   monies paid to J. Markovich from Mr. Garnto from Lab Pros was in part to pay back a loan that J.

   Markovich made to Mr. Garnto. Mr. Garnto testified that he received such a loan from J.

   Markovich and that he paid it back, with interest. To this end, the following should be added for

   factual accuracy: “Nearly $100,000 of these monies paid to Jonathan Markovich were payments

   towards a loan that Christopher Garnto took from Jonathan Markovich. Mr. Garnto had a poor

   credit history and asked Jonathan Markovich to lend him the money. Mr. Garnto entered into a

   promissory agreement that he would pay back such money to Jonathan Markovich and he did so

   pay it back through some of these payments.”

          11.     Page 10, paragraph 23: J. Markovich objects to this paragraph as written. The

   government must specify how these specific amounts billed were tied to fraudulent or illegal

   conduct.

          12.     Page 11, between paragraphs 24 and 25: For factual accuracy and completeness,

   the following should be added: “J. Markovich did not only use patient recruiters to get patients

   into Compass and WAR. Indeed, Compass and WAR spent significant amounts of monies towards

   legitimate marketing efforts, such as FaceBook and Google advertisements and health fairs, at J.

   Markovich’s direction.    In addition, Christopher Garnto and Mario Kustura were not only

   recruiters for Compass and WAR. They also earned significant amounts of monies by illegally

   recruiting for addiction and substance abuse treatment centers in California and other states.”

          13.     Page 11, paragraph 25: J. Markovich objects to this paragraph as written. Again,

   this paragraph needs to be specific regarding which patients and dates are being discussed.

                                                   10
   128731839.1
Case 0:21-cr-60020-WPD Document 548 Entered on FLSD Docket 03/08/2022 Page 11 of 15



          14.     Page 11, paragraph 26: J. Markovich objects to this paragraph as written. Again,

   this paragraph needs to be specific regarding which patients and dates are being discussed. In

   addition, for factual accuracy and completeness, the following should be added: “At trial, the

   insurance company representatives testified that nursing and therapy notes could be entered into

   an electronic medical record system after the time of service, provided it is truthful information,

   and that promissory notes could be executed for travel and flights, provided it was a note upon

   which collection was legitimately sought.”

          15.     Pages 11 and 12, paragraph 27: J. Markovich objects to this paragraph as written.

   Mr. Garnto did not state all of these monies were for “kickbacks” – in fact, he could not recall

   what they were for. Some patients, as both Mr. Garnto and patient P.S. testified to, were paid

   monies for “diapers” and “baby formula”. Moreover, for factual accuracy and completeness, the

   following should be added: “At trial, the government established that a few thousands of dollars

   was used for patient kickbacks. Yeladim 18 means, in Hebrew, ‘my children’.”

          16.     Page 12, paragraph 28: J. Markovich objects to this paragraph as written. There is

   no evidence that J. Markovich used funds earned from his operation of Compass and WAR to

   bankroll a “lavish” lifestyle. The government has not established that monies earned at Compass

   or WAR paid for any of the so-called “lavish” items owned by J. Markovich, such as his vehicles.

   Moreover, he objects to the use of the words “shell” and “illicit” for the reasons explained above

   in paragraph 9.

          17.     Page 13, paragraph 30: J. Markovich objects to this paragraph as written. There is

   no evidence that J. Markovich attempted to conceal funds in Ness Foundation, versus intending

   for it to serve as a legitimate charity. Moreover, no funds were ever transferred from the Ness

   Foundation once it was placed into the account. Last, Mr. Waserstein and his brother, a tax

   attorney, without direct input from J. Markovich, set up the account and foundation. J. Markovich

                                                   11
   128731839.1
Case 0:21-cr-60020-WPD Document 548 Entered on FLSD Docket 03/08/2022 Page 12 of 15



   followed the advice of R. Waserstein and his brother in setting up this foundation and account.

          18.     Page 14, paragraph 33: For factual accuracy and completeness, the following

   sentence should be added: “There is no evidence or allegation that the PPP loans were in fact used

   improperly by Jonathan Markovich or others.”

          19.     Page 17, paragraph 47: J. Markovich objects to this paragraph as written. The term

   “purportedly” should not be used because, again, the government has not – and cannot – establish

   that some addicts/patients did in fact receive effective clinical treatment services. Moreover, not

   all treatment provided to patients were “substandard”. As well, the loss amount calculation is

   incorrect and the use of the term “shell” is inaccurate, for the reasons already stated herein. J.

   Markovich also objects to the application of a four-level aggravating role adjustment, given that

   Mr. Waserstein, the leader and organizer of Compass’ business model and operations, has received

   no role adjustment for his criminal conduct. The government appears to apply this enhancement

   simply because J. Markovich was the CEO of Compass from April 2017 to October 2019. That is

   an insufficient basis to apply a four-level role adjustment, particularly since others, such as Mr.

   Waserstein and Mr. Garnto, had a more active and robust role in the offense conduct but do not

   have the same role adjustment. While these defendants have pled guilty and are cooperating with

   the government, the government cannot simply bypass the sentencing guideline provisions to

   account for their cooperation.    To do so would render the sentencing guideline provisions

   meaningless. Instead, a recommended sentence, Section 5K1.1 adjustment, or Rule 35 motion is

   the appropriate mechanism for the government to account for cooperation. Inconsistency in

   application of the guidelines in this manner can lead to inequitable and disparate sentences among

   similarly situated defendants and a trial punishment for those that choose to execute their

   constitutional rights. Last, for accuracy and completeness, the following sentence should be

   added: “J. Markovich also expected Christopher Garnto to use legitimate marketing ads and

                                                   12
   128731839.1
Case 0:21-cr-60020-WPD Document 548 Entered on FLSD Docket 03/08/2022 Page 13 of 15



   mechanisms to recruit patients.”

          20.     Page 18, paragraph 50: J. Markovich objects to this paragraph, for the reasons

   stated above in paragraph 6.

          21.     Page 19, paragraph 51: J. Markovich objects to this paragraph. The Government

   did not provide evidence at trial regarding the necessity of, or false billing related to, chiropractic

   services.

          22.     Page 20, paragraph 57: J. Markovich objects to the obstruction enhancement. The

   Guidelines provide that a defendant's offense level can be enhanced by two levels if he willfully

   obstructed or impeded a prosecution and his obstructive conduct related to his offense of

   conviction. U.S.S.G. § 3C1.1. To prove obstruction of a health care investigation, the government

   must show that a defendant “willfully prevent[ed], obstruct[ed], misle[d], delay[ed], or attempt[ed]

   to prevent, obstruct, mislead, or delay the communication of information or records relating to a

   violation of a Federal health care offense to a criminal investigator.” 18 U.S.C. § 1518; see also

   United States v. Fuertes, 723 Fed. Appx. 733, 740 (11th Cir. 2018); United States v. Duperval,

   777 F.3d 1324, 1337 (11th Cir. 2015) (quotation marks omitted).

          The government cites two reasons for this obstruction enhancement: (1) that J. Markovich

   knew or instructed Daniel Foodman, then-counsel for Mr. Waserstein, to submit false records to

   the government post-complaint and pre-indictment, hoping the government would decline to seek

   an indictment against him; and (2) J. Markovich testified falsely in a civil deposition involving

   Compass and a competitor, Evoke. The first reason is stated in the PSI and is absolutely false. J.

   Markovich did not request that Mr. Foodman submit any materials to DOJ seeking a deferment or

   no prosecution. Mr. Waserstein submitted these materials on his own, contrary to J. Markovich’s

   advice and wish. Moreover, the materials submitted were gathered by an investigator working for

   Mr. Foodman, not J. Markovich.

                                                     13
   128731839.1
Case 0:21-cr-60020-WPD Document 548 Entered on FLSD Docket 03/08/2022 Page 14 of 15



          Moreover, to the extent that there are discrepancies in J. Markovich’s deposition transcript

   from a civil matter and the trial outcome here, that is not a proper application of the obstruction

   enhancement. J. Markovich did not obstruct justice through his deposition testimony and did not

   seek to use any such deposition transcripts during the government’s investigation of this case or

   the trial. As such, it is unclear how his deposition testimony could have impeded law enforcement

   from doing their job. To the contrary, the Evoke litigation likely spurred further attention on

   Compass and the Markoviches, placing them on law enforcement’s radar.

          23.     Page 22, paragraph 64 : J. Markovich objects to this paragraph. The loss amount

   needs to be recalculated, considering a new total loss amount that is supported by specific and

   reliable evidence. J. Markovich submits that he should be held responsible for a loss amount no

   more than $9,000,000 (increasing the offense level by 18 levels, not 24). Further, given that the

   money laundering did not involve sophisticated means (such as no offshore accounts or accounts

   in others’ names), the two level increase for such conduct should not apply. Further, as mentioned

   earlier, J. Markovich objects to an enhancement for more than 10 victims. The government needs

   to be consistent and clear about who the alleged “loss” victims are. They are not the patients, as

   the patients did not incur financial losses. The “loss” victims are the insurance providers. The

   government continues to conflate the “loss” victims with the alleged patient victims for this

   calculation and that is not accurate. At trial, the government named six insurance companies –

   Aetna, BCBS, Optum, Cigna, Magellan, and Medical Mutual. As such, this enhancement does not

   apply. Thus, the base offense level should be at a level 24, not 34.

          24.     Page 22, paragraph 66: For the reasons stated herein, J. Markovich objects to this

   enhancement.

          25.     Page 23, paragraph 68 : For the reasons stated herein, J. Markovich objects to this

   enhancement.

                                                   14
   128731839.1
Case 0:21-cr-60020-WPD Document 548 Entered on FLSD Docket 03/08/2022 Page 15 of 15



          26.     Page 23, paragraph 69: The correct total offense level should be 26, not 44.



                                           CONCLUSION

          Jonathan Markovich respectfully requests that the Court consider his objections to the PSI

   and revise the PSI in accordance with his positions.



   Dated: March 8, 2022                         Respectfully submitted,

                                                s/ Vanessa Singh Johannes
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                                   CERTIFICATE OF SERVICE


          I HEREBY CERTIFY that on March 8, 2022, I electronically filed the foregoing document

   with the Clerk of the Court using CM/ECF, on behalf of myself and all counsel for Jonathan

   Markovich. Counsel for the United States, Mr. Hayes and Ms. DeBoer, received a true and correct

   copy via that manner.

                                                          s/ Vanessa Singh Johannes
                                                          Vanessa Singh Johannes (FBN 1028744)
                                                          Counsel for Jonathan D. Markovich




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